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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

This Document Relates to:


IN RE ELECTRONIC BOOKS                    No. 11-md-02293 (DLC)
ANTITRUST LITIGATION                          ECF Case




THE STATE OF TEXAS, et al.,               Civil Action
                                          No. 12-cv-03394
                            Plaintiffs,

    v.

PENGUIN GROUP (USA) INC., et al.,

                            Defendants.




IN RE ELECTRONIC BOOKS ANTITRUST          No. 11-md-02293 (DLC)
LITIGATION                                    ECF Case




This Document Relates to:                 CLASS ACTION
ALL ACTIONS




      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION
                   FOR APPROVAL OF PLAN FOR NOTICE




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                                       I.     INTRODUCTION

          Under Federal Rule of Civil Procedure 23(c)(2)(B), class notice is mandatory “[f]or any

class certified under Rule 23(b)(3).” Thus, because the Court has granted class certification, the

parties will be required to provide notice to the proposed Class, as well as to the eligible

consumers in the states represented by the Attorneys General. Class Counsel and the State

Attorneys General, therefore, jointly propose the Notice Plan outlined below, which would

facilitate a trial date in July, for this Court’s consideration.

                                 II.        PROCEDURAL HISTORY

          On August 9, 2011, Anthony Petru filed the first class action against Apple, Inc.

(“Apple”), and other defendants in the Northern District of California.1 (“Class Plaintiffs”)

Additional class actions were filed in the Northern District of California, and in this venue

(“SDNY Actions”).

          On December 9, 2011, the JPML transferred the California cases to this Court pursuant to

28 U.S.C. § 1407, and consolidated them with the SDNY Actions for coordinated or

consolidated pretrial proceedings.2

           On April 11, 2012, State Attorneys General from 16 states filed a parens patriae action

against Apple and other defendants in the Western District of Texas (“States’ Action”).3

Seventeen additional Attorneys General joined a Second Amended Complaint in the States’




    1
        Petru et al. v. Apple, Inc., et al., Case No. 3:11-cv-03892 (N.D. Cal.).
    2
        MDL 2293, Dkt. 83 at 2-3 (Dec. 9. 2011).
    3
      State of Texas et al. v. Penguin Grp. (USA) Inc. et al., Case No. 1:12-cv-00324 (W.D. Tex.
filed Apr. 11, 2012).


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Action on May 11, 2012 (collectively “Plaintiff States” 4). On April 11, 2012, the DOJ also filed

a complaint against the same defendants in this venue.5 On April 26, 2012, the JPML transferred

the States’ Action to this Court.6 (Plaintiff States, together with Class Plaintiffs, shall be referred

to collectively as “Plaintiffs”).

          The Court then presided over a three-week joint bench trial in the DOJ and Plaintiff State

cases against Apple in June 2013.7 At the conclusion of the trial, the Court published the July 10

Order, making detailed findings of fact and conclusions of law that supported its ultimate

conclusion that Apple orchestrated a conspiracy to “eliminate retail price competition in order to

raise e-book prices.”8

          This Court has granted Class Plaintiffs’ Motion for Class Certification under Rule

23(b)(3), in which Class Plaintiffs have proposed a Class defined as:

                  All persons in the Non-Litigating Jurisdictions who purchased e-
                  books between April 1, 2010 and May 21, 2012, published by
                  Hachette Book Group, Inc. (“Hachette”), HarperCollins Publishers
                  L.L.C. (“HarperCollins”), Holtzbrinck Publishers, LLC d/b/a
                  Macmillan (“Macmillan”), Penguin Group (USA) Inc.
                  (“Penguin”), or Simon & Schuster, Inc. (“Simon & Schuster”)
                  directly from that publisher (including any of its imprints) after the
                  adoption of the agency model by that publisher. The “Non-
                  Litigating Jurisdictions” are American Samoa, California, Florida,
                  Georgia, Guam, Hawaii, Kentucky, Maine, Minnesota,
                  Mississippi, Montana, Nevada, New Hampshire, New Jersey,

    4
    “Plaintiff States” are the States and Commonwealths of Alabama, Alaska, Arizona,
Arkansas, Colorado, Connecticut, Delaware, District of Columbia, Idaho, Illinois, Indiana, Iowa,
Kansas, Louisiana, Maryland, Massachusetts, Michigan, Missouri, Nebraska, New Mexico, New
York, North Dakota, Ohio, Pennsylvania, Puerto Rico, South Dakota, Tennessee, Texas, Utah,
Vermont, Virginia, West Virginia, and Wisconsin.
    5
    United States of America v. Apple, Inc., et al., No. 12 CV 2826 (S.D.N.Y. filed Apr. 11,
2012).
    6
        Conditional Transfer Order, ECF No. 64, No. 12-cv-00324 (Apr. 26, 2012).
    7
        Penguin and Macmillan settled with all parties prior to the trial.
    8
        July 10, 2013, Opinion and Order in United States v. Apple, No. 12-cv-2826 (S.D.N.Y.).


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                  North Carolina, Northern Mariana Islands, Oklahoma, Oregon,
                  Rhode Island, South Carolina, U.S. Virgin Islands, Washington,
                  and Wyoming. Excluded from the Class are Defendants, their
                  employees,      co-conspirators,    officers,  directors,    legal
                  representatives, heirs, successors, and wholly or partly owned
                  subsidiaries of affiliated companies, as well as the Honorable
                  Denise L. Cote and persons described in 28 U.S.C. § 455(b)(4)-(5).

          Thus, because the Court has granted certification, it is necessary to advise the Class

members, as well as those eligible consumers in the Plaintiff States (collectively “Eligible

Consumers”), of the status of the proceedings and to provide notice to Eligible Consumers of

their right to opt out to pursue individual actions against Apple, should they so wish.

                                        III.   ARGUMENT

A.        Class Notice Should Be Given Promptly

          Under Federal Rule of Civil Procedure 23(c)(2)(B), class notice is mandatory “[f]or any

class certified under Rule 23(b)(3).”9 And it has long been settled that “notice should ordinarily

be given promptly after the certification order is issued.”10

          The settled practice of giving notice promptly is derived from the purpose, language and

history of Rule 23, which directs courts, consistent with fundamental considerations of due

process and judicial efficiency, to determine whether to certify a class action early in the

litigation and to notify class members of the pendency of the action.11 Similarly, courts have


     9
     It is discretionary for classes certified under Rules 23(b)(1) or 23(b)(2). Fed. R. Civ. P.
23(c)(2)(A).
     10
       See MANUAL FOR COMPLEX LITIGATION § 30.211 (3rd ed. 1995) accord Wright, Miller &
Kane, 7B FEDERAL PRACTICE & PROCEDURE § 1788 (3d ed. 1997) (“Notice must be sent long
before the merits of the case are adjudicated. Indeed it should be sent as soon as practicable
after the court determines that the class action is proper under subdivision (c)(1).”) (Emphasis
supplied).
    11
       See In re Franklin Nat’l Bank Sec. Litig., 574 F.2d 662, 671 n.6 (2d Cir. 1978) (noting that
delaying class notice is inconsistent “with the requirement that certification as a class action be
determined ‘as soon as practicable after the commencement of the action’ and the implication
that the initial class notice should follow promptly after the certification”). Franklin was decided
prior to the 2003 amendments to Rule 23, when Rule 23(c) mandated that class certification be

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held that notice should be promptly given to provide class members the opportunity to utilize the

benefits derived from Rule 23(c), including the “opportunity for class members to participate in

the litigation, to opt-out of the litigation, to monitor the performance of class representatives and

class counsel, and to ensure that predictions of adequate representation are fulfilled.”12 And

given the length of time this case has been pending, Class members should be given notice in

order to be fully apprised of the status of the litigation so that they can fully participate in the

litigation should they choose to do so.

         Furthermore, Class notice must be served expeditiously to ensure that Class members

have an adequate opportunity to exercise their rights in advance of a contemplated July 2014

trial. As class action treatise author Herbert Newberg advises: “it seems obvious that if notice is

to be effective – if class members are to have a meaningful opportunity to request exclusion,

appear in an action, object to the representation, etc. – the invitation must go out as promptly as

the circumstance will permit.”13 Because a Class has been certified under Fed. R. Civ. P.

23(b)(3), notice to the members of the Class is mandatory under Rule 23(c)(2)(B) and, pursuant

to the authority cited above, should not be delayed.




decided “as soon as practicable.” However, the 2003 amendments, which changed the Rule to
provide that class certification be decided at “an early practicable time,” do not otherwise change
Franklin’s holding. According to the Advisory Committee notes from that year, the 2003
amendments were primarily designed to permit “discovery in aid of the certification decision”
and were not designed to delay the time between certification and notice.
    12
      In re FedEx Ground Packaging Sys., Inc. Emp’t Practices Litig., 2008 WL 927654, at *3-4
(N.D. Ind. Apr. 4, 2008) (declining to delay class notice and citing MANUAL FOR COMPLEX
LITIGATION, § 21.13 (4th ed. 2004)); see also In re Sugar Indus. Antitrust Litig., 73 F.R.D. 322,
359 (E.D. Pa. 1976) (discussing reasons for promptly notifying class members and declining to
postpone notice to potential class members because “it would be derelict in its duties to delay its
decision concerning proper notification to the class just defined.”).
    13
    NEWBERG ON CLASS ACTIONS § 8.9 (4th ed. 2002) (quoting Frankel, SOME PRELIMINARY
OBSERVATIONS CONCERNING CIVIL RULE 23, 43 F.R.D. 39, 40-41 (E.D. Pa. 1967)).


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B.         Pursuant to the Clayton Act, 15 U.S.C. §15c(b)(1), Attorneys General Pursuing a
           Parens Patriae Action Must Give Notice to Consumers

           Eligible Consumers in Plaintiff States are also entitled to notice of the pending litigation

against Apple, and their rights thereunder, including the right to exclude themselves and the

opportunity to be heard.14 The mechanics of the notice process, however, “are left to the

discretion of the court subject only to the broad 'reasonableness' standards imposed by due

process."15 As detailed below, the Notice Plan fully comports with the requirements of due

process.

           Plaintiff States and Class Plaintiffs believe that a combined notice to all Eligible

Consumers will be most effective and efficient.            A combined notice will best serve the

requirements of due process as it will be done via the same channels and using the same

procedures that were already approved by this Court          to provide notice of prior settlements in

this matter to this same audience.

C.         Plaintiffs’ Proposed Notices Are Written in Plain English and the Notice Plan
           Satisfies the Requirements of the Federal Rules and Due Process

           To be approved, notice for classes certified under Rule 23(b)(3) must “clearly and

concisely state in plain, easily understood language: (i) the nature of the action; (ii) the

definition of the class certified; (iii) the class claims, issues, or defenses; (iv) that a class member

may enter an appearance through an attorney if the member so desires; (v) that the court will

exclude from the class any member who requests exclusion; (vi) the time and manner for

requesting exclusion; and (vii) the binding effect of a class judgment on members under Rule




     14
          See 15 U.S.C. § 15c(b)-(c); Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1985).
     15
     Grunin v. Int’l House of Pancakes, 513 F.2d 114, 121 (8th Cir.), cert. denied, 423 U.S. 864
(1975).


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23(c)(3).”16 These requirements are designed to ensure that class members receive proper due

process.17


          Consistent with these requirements, the proposed Notices18 are in clear, plain and concise

language, are appropriate for the target audience, and are informative. Specifically, the Detailed

Notice describes the nature of the Class Action and the States’ Action (§§2-3), it defines the

members of the certified Class and the eligible consumers whose interests are represented by

Plaintiff States (§§4-8), it describes the claims of the Class and the State Attorneys General and

the defenses asserted by Apple (§2), it provides that an Eligible Consumer may enter an

appearance through his or her own attorney (§11), it provides that the Court will exclude any

Eligible Consumer who so requests and describes how a Eligible Consumer may do so (§14);

and describes the binding nature of any subsequently-entered judgment should an Eligible

Consumer choose not to opt-out (§13). Such straight-forward notices, in conjunction with the

comprehensive distribution plan, satisfy the requirements of Rule 23 and due process.19



          1.      Direct Notice is the Best Notice Practicable

          Rule 23(c)(3) requires that the Court direct “the best notice that is practicable under the

circumstances, including individual notice to all members who can be identified through

reasonable effort.”20

    16
         Fed. R. Civ. P. 23(c)(2)(B).
    17
         See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175 (1974).
    18
     The proposed Email, Postcard and Detailed Notices are attached to the Declaration of
Katherine Kinsella in Support of Plaintiffs’ Motion for Approval of Plan for Class Notice
(“Kinsella Decl.”), filed concurrently herewith.
    19
         Id. at ¶¶ 21-29.
    20
         Fed. R. Civ. P. 23(c)(2)(B).


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          Here, Plaintiffs have retained an experienced Notice Administrator (Kinsella Media, LLC

(“KM”)) to administer notice, have carefully crafted a detailed Notice Plan and have taken all

necessary steps to ensure that the proposed Notice Plan meets the requisite due process

requirements. See Kinsella Decl.


          As explained more fully in the Kinsella Declaration, KM implemented the Notice Plan in

the Previous Settlements reached between the Attorneys General of 49 states, the District of

Columbia, and five U.S. territories and commonwealths, and the following publishers: Hachette

Book Group, Inc. (“Hachette”), HarperCollins Publishers LLC (“HarperCollins”), Simon &

Schuster, Inc. and Simon & Schuster Digital Sales, Inc. (“Simon & Schuster”).21

          KM also implemented the Notice Plan in the Previous Settlements reached between the

Plaintiff States, the Settlement Class22, and the publishers Holtzbrinck Publishers, LLC, d/b/a

Macmillan and Penguin Group (USA), Inc.23

          KM, Rust Consulting, Inc. (“Rust”) and counsel for Plaintiffs worked together to design a

Notice Plan that comports with due process and effective notification standards. The Notice Plan

was developed to provide notification to Eligible Consumers who may be affected by Plaintiffs’

lawsuits (“Lawsuits24

          The Notice Plan provides that the Notice Administrator will distribute Direct Notice (by




    21
         Kinsella Decl. at ¶ 5.
    22
       “Settlement Class” includes all persons who purchased E-books published by the named
Publishers during the period from April 1, 2010 until May 21, 2012, who resided in any U.S.
State, Commonwealth or Territory, other than Plaintiff States, at the time of their purchase.
    23
         Kinsella Decl. at ¶ 6.
    24
         Id. at ¶ 7.


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email25 or regular mail) to all known Eligible Consumers. Specifically, using the comprehensive

mailing list compiled in the Previous Settlements, individual notice by email will be the principle

method of providing Eligible Consumers with opportunities to see, read and understand their

rights, and act if they so choose.26

          Direct Notice will consist of the following:

          (a) An email from Amazon, Barnes and Noble, Google, and Kobo to inform Eligible
              Consumers of their rights and how they may participate in the Lawsuits.

          (b) An email from Rust, or a vendor contracted by Rust, on behalf of Apple and Sony to
              inform Eligible Consumers of their rights and how they may participate in the
              Lawsuits. Postcards will be sent to Eligible Consumers for whom a correct email
              address could not be discovered in the Previous Settlements.27

          Given the fact that notice will be mailed to all reasonably identifiable Eligible Consumers

and considering the extensive list development and address updating that has previously been

done, KM expects the notice to reach at least 88% of Eligible Consumers.28 An 88% reach more

than satisfies due process, and requiring anything more would read the requirement that notice be

the best “practicable under the circumstances” out of existence.

          The proposed direct mail notice plan is suitable because, as the Manual for Complex

Litigation (“Manual”) states, even where it is impossible to identify the name or address of all of

the class members, direct notice is the generally preferred method of providing notice of the

pendency of a class action. MANUAL FOR COMPLEX LITIGATION (Fourth) § 21.311 (2004)


    25
       Notice by electronic media is efficient and effective. Moreover, the Notice Plan ensures
that the emails returned as undeliverable, where possible, receive notice via the U.S. mail.
    26
         Kinsella Decl. at ¶¶ 9-12.
    27
         Id. at ¶ 15.
    28
         Id. at ¶ 16.


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(“When the names and addresses of most class members are known, notice by mail usually is

preferred.”) (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 356 n.22 (1978))

(emphasis added).

           2.     Direct Notice Will Be Supplemented

          Supplementing direct notice with publication notice in this case would be a waste of

resources and would serve no purpose.29 However, in addition to direct mail notice, a website
will be created where the notice forms and other important Court documents will be posted and

available to download, and a toll-free information number will be established where consumers

can call the Administrator, request Notices and listen to answers of frequently asked questions.30


                                       IV.    CONCLUSION

          Because a Class has been certified it is important that Class members and Eligible

Consumers in the Plaintiff States be promptly advised of their rights.          Plaintiffs therefore

respectfully request that the Court approve Plaintiffs’ proposed Notice Plan.



DATED: March 28, 2014                          HAGENS BERMAN SOBOL SHAPIRO LLP


                                               By          /s/ Steve W. Berman
                                                     STEVE W. BERMAN (Pro Hac Vice)




    29
       See Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 318 (1950) (“Exceptions
in the name of necessity do not sweep away the rule that within the limits of practicability notice
must be such as is reasonably calculated to reach interested parties. Where the names and post-
office addresses of those affected by a proceeding are at hand, the reasons disappear for resort to
means less likely than the mails to apprise them of its pendency.”).
    30
         Kinsella Decl. at ¶¶ 17-19.


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                                          ATTESTATION

         Pursuant to Electronic Case Filing Rules & Instructions Section 8.5(b), the filer of this

document attests that concurrence in the filing of this document has been obtained from the other

signatories above.

                                                           /s/ Steve W. Berman      _
                                                     STEVE W. BERMAN (Pro Hac Vice)




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 28, 2014, I electronically filed the foregoing document

using the CM/ECF system which will send notification of such filing to the e-mail addresses

registered in the CM/ECF system, as denoted on the Electronic Mail Notice List, and I hereby

certify that I have caused to be mailed a paper copy of the foregoing document via the United

States Postal Service to the non-CM/ECF participants indicated on the Manual Notice List

generated by the CM/ECF system.
                                                              /s/ Steve W. Berman
                                                             STEVE W. BERMAN




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